' Case 2:02-Cr-20165-BBD Document 508 Filed 05/12/05 Page 1 of 6 Page|D 639

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UNITED STATES OF AMERICA,
Plaintiff,

vs. Cr. NO. 02-20165 DP

ALVIN IRWIN MOSS, et al.,

Defendants.

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ORDER GRANTING IN PART DEFENDANTS’ RENEWED MOTION TO COMPEL
PRODUCTION OF ITEMS PERTAINING TO TOLLING OF STATUTE OF LIMITATIONS

 

Before the Court is Defendants’ Renewed Motion to Compel
Production of Items Pertaining to Tolling of Statute of Limitations,
filed on May 2, 2005 (dkt #497). The matter was referred to the
magistrate judge for determination.1 For the following reasons, the
renewed motion is GRANTED in part.

The multiple defendants in this ease are charged, inter alia,
with a RICO conspiracy, money laundering, and mail fraud. On March
14, 2003, Defendant Richard Titterington filed a Motion to Compel
Production of Items Pertaining to Tolling of Statute of Limitations.
Titterington died in Decemher 2004, and proceedings against him have

been dismissed and abated ab initio. Although no other defendants

 

‘The order of reference was for report and recommendation;
however the renewed motion, like the original motion, is non-
dispositive.

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Case 2:02-Cr-20165-BBD Document 508 Filed 05/12/05 Page 2 of 6 Page|D 640

joined Titterington’s motion, the Court allowed the defendants to
renew the issues raised therein.

The issues presented in the renewed motion are closely related
to some issues presented in Defendants' Motion to Compel Discovery,
filed on November 8, 2004. The Court ruled on this motion on May 5,
2005. Following the organization of Titterington’s March 2003 motion,

the Court grouped Defendants' requests for items pertaining to the

tolling of statute of limitations into three broad categories: (1)
communications between the U.S. and Barbados governments
(“communications"), (2) inventory of items seized in Barbados
(“inventory"), and (3) details related to the U.S. government’s

attempt to obtain final action pursuant to 18 U.S.C. § 3292
(“detailing”). The Court granted the motion with respect to
communications but denied the motion with respect to the latter two
categories.

Defendants’ renewed motion itemizes eighteen? specific requests
for materials. Of those eighteen, seven3 are identical to the items

listed in the November 2004 motion to compel. Because a ruling has

 

2 Defendants list the specific items they seek in paragraph
10 of their renewed motion. The nineteenth and final itemwm

subparagraph (s)-is merely a description of types of materials
sought, as opposed to an additional substantive request.

3 Those include requests (a}, (b), (c), {d), (e), (g), and
(h) in paragraph 10 of the motion.

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Case 2:02-Cr-20165-BBD Document 508 Filed 05/12/05 Page 3 of 6 Page|D 641

already been made on these items, the Court GRANTS the renewed motion
and orders production consistent with the May 5 order. Additionally,
eleven requests fall within the inventory4 or detailing5 categories.
The Court DENIES the motion with respect to these items, per the May
5 order.

ln request (i), Defendants seek grand jury transcripts from
December 1998. They contend these transcripts will confirm or raise
doubt as to whether “at the time the application for tolling was made,
the grand jury then sitting was conducting an investigation into this
matter, which is a necessary jurisdictional pre-requisite [sic] under
18 U.S.C. § 3292.” As discussed in the previous order, “the phrase
‘the district court before which a grand. jury is impaneled to
investigate the offense' found in § 3292 is merely a venue requirement
specifying the particular court that may issue the tolling order."
Order Granting in Part and Denying in Part Defendants’ Motion to
Compel, 22 (May 5, 2005)(citing United States v. DeGeorge, 380 F.3d
1203, 1213-14 (9th Cir. 2004); United States V. Kinq, NO. 98~Cr-91A,
2000 WL 362026, at *22 (W.D.N.Y. Mar. 24, 2000)(Unpublished)).
Therefore, the motion is DENIED with respect to request (i}.

Accordingly, Defendants' Renewed Motion to Compel Production of

 

4 Requests (f) and (j) fall within the rubric of inventory.

5 Requests (k), (l}, (m), (H), {O). (p), (q), and (r) relate
to detailing.

Case 2:02-Cr-20165-BBD Document 508 Filed 05/12/05 Page 4 of 6 Page|D 642

Items Pertaining to Tolling of Statute of Limitations is GRANTED in

part.

IT IS SO ORDERED.

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TU M. PHAM
United States Magistrate Judge

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Date

 

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Case 2:02-cr-20165-BBD Document 508 Filed 05/12/05 Page 6 of 6 Page|D 644

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